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     Assistant U.S. Attorney
 3   3654 Federal Building
     1130 "O" Street
 4   Fresno, California 93721
     Telephone: (559) 498-7272
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                         EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,         ) CR. F. NO. 96-5181 OWW
12                                     )
                  Plaintiff,           ) REQUEST BY THE UNITED STATES
13                                     ) FOR DISMISSAL OF INDICTMENT
           v.                          ) [Fed.R.Crim.Proc. 48(a)]
14                                     )
     EXZUR MACA ALEJO, and             )
15   WENDALL NACAPUY,                  )
                                       )
16                                     )
                  Defendants.          )
17                                     )

18
           Comes now the United States, by and through its attorneys of
19
     record, MCGREGOR W. SCOTT, United States Attorney, and KEVIN P.
20
     ROONEY, Assistant United States Attorney, and request leave of the
21
     court to dismiss, without prejudice, the Indictment in this case,
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       Case 1:96-cr-05181-LJO Document 457 Filed 08/23/05 Page 2 of 2



 1   as to the above-named defendants, in the interest of justice.

 2
     DATED: August 12, 2005                     Respectfully submitted,
 3
                                                MCGREGOR W. SCOTT
 4                                              United States Attorney

 5
                                           By     /s/Kevin P. Rooney
 6                                                KEVIN P. ROONEY
                                                Assistant U.S. Attorney
 7                                              Chief, Fresno Office

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          IT IS SO ORDERED.
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12                                     /s/ OLIVER W. WANGER
     DATED: August _22_, 2005          __________________________________
13                                     Honorable OLIVER W. WANGER
                                       United States District Court Judge
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